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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

KAO LEE YANG, INDIVIDUALLY, AND                    §
OBO, S.V. & T. V., MINORS;                         §
       Plaintiffs,                                 §
                                                   §
VS.                                                §     Civil Action No. 4:18-CV-161
                                                   §
TEICHMAN GROUP, LLC., et al.,                      §
     Defendants.                                   §

   PLAINTIFFS’ MOTION TO VOLUNTARILY DISMISS T&T MARINE, INC. AND
               TEICHMAN GROUP, LLC WITHOUT PREJUDICE

       Plaintiffs hereby ask this Court to dismiss T&T Marine, Inc. and Techman Group, LLC

pursuant to FRCP 41(a)(2) from the instant case without prejudice. Plaintiffs no longer desire to

pursue their claims against these Defendants at this time. Moreover, counsel for T&T Marine,

Inc. claims it is not a proper party to this action. Plaintiffs move pursuant to FRCP 41(a)(2)

because at least one Defendant has filed an answer. Plaintiffs respectfully ask this Court to enter

an Order dismissing Defendants T&T Marine, Inc. and Techman Group, LLC without prejudice.

Pursuant to local rule 7.1(h), no certificate of conference is required.

                                               Respectfully submitted,

                                               THE BUZBEE LAW FIRM

                                                  By: /s/ Anthony G.Buzbee
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                                 CERTIFICATE OF SERVICE

         I hereby certify that a true and correct copy of this document has been duly served on all
interested parties in accordance with the Federal Rules of Civil Procedure on the August 8, 2018, as
set forth below:


                                                               /s/ Christopher J. Leavitt
                                                                  Christopher J. Leavitt




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